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        UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF GEORGIA
             SAVANNAH DIVISIO N                                                                    t fl 3 5
UNITED STATES                                          defendant Martin Bradley, . III's .    Objection
                                                       concerning his motion b hsmiss for -lack of
V.                       405CR59                       venue. Doc . # 328 at 3 .Bradley' moved ' do
                                                       dismiss an allegation that he failed to file certain
MARTIN J. BRADLEY II I et al.,
                                                       tax forms, arguing that this dist ri ct is not a
     Defendants.                                       proper venue for that charge . Doe. # 93 (motion
                                                       to dismiss Count 284) . The MJ denied that
                      ORDER                            motion , finding that venue is proper for a
                                                       failure-to-file-tax-form charge in the district
   This criminal RICO prosecution arises from          where the return was prepared. Doc. # 317 at
a prescription-drug-based fraud scheme                 29-35 . Since Bradley III's accountant, co-
advanced in varying degrees by eight individual        defendant Sara Gri ffin, prepared his returns in
and two corporate defendants . Doc . # 228 . The       Savannah, the MJ held that venue is proper in
defendants have filed numerous pretrial motions        this district. Id.
reached by the Magistrate Judge (MJ) . Before
the Court are joint objections to the MJ's                 Bradley III now objects to that
 12/15/05 Report & Recommendation (R&R),               recommendation , arguing that the MJ
which denied several defense motions to dismiss        improperly relied on cases discussing "false
criminal charges . Doc. # 317 (denying doe . ##        filings" to determine proper venue when this
93, 101, 111, 113, 115, 256, 257) ; doe. # 328         case involves "failure to file" cert ain reports .
(joint defendants' objections) .                       Doc. # 328 at 3-4. Bradley insists that venue in
                                                       failure-to-file cases lies in either ( 1) the internal
   Defendant Martin J . Bradley Jr. has filed a        revenue district in which the defend ant resides
separate objection to the same R&R . Doc . #           or (2) the district where the Secretary of the
329 . He objects to that portion of the R&R (doe .     Treasury designates the form must be filed.
# 317 at 35-42) that denied his motion to dismiss      Doc. # 93. Bradley concludes , then, that venue
two counts of failing to disclose foreign              in this district is improper because he resides in
financial interests . Doc . # 329 (objecting to        Miami while the relevant tax form (Form 90-
denial of doe . # 115) .                               22 .1) indicates that it was to be filed in Detroit .
                                                       Id.
   After a careful de novo review of the record in
this case, the Court concurs with the Magistrate          This Court finds no merit in Bradley III's
Judge's Report and Recommendation, to which            objection. The MJ relied on, inter alia, U.S. v.
objections have been filed . This Court finds that     Clines, 958 F.2d 578 (4th Cir. 1992) . That court
the MJ has researched and addressed each of the        addressed this same venue challenge in a case
defendants' arguments thoroughly, and it agrees        involving the identical tax form at issue here --
with his reasoning . See doe. # 317 ; see also doe .   Form 90-22 . 1 . Id. at 583-84 . That court
## 328, 329 (defendants mostly re-raise same           rejected the defendant' s argument -- that venue
arguments made before MJ) .                            was only proper at the defend ant's Virginia
                                                       residence or in Detroit -- and instead held that
     The Court will specifically address, however,     venue was also proper in the Distri ct of
                                                       Maryland, where the defend ant' s accountant had
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prepared the return . Id. Since the incomplete
return was completed in Maryland and could
have been hand-delivered to the local IRS office
there, that court reasoned, venue was proper in
Maryland . Id.

   Here, the MJ applied the same reasoning from
Clines to find that venue is proper in Savannah,
where the return was prepared and could have
been filed (with the local IRS office) . Doc . #
317 at 33-35 . The Court finds no fault in the
MJ's reliance on that well- reasoned case.

   Finally, Bradley III contends that the MJ's
R&R raises "constitutional concerns," as its
holding suggests that venue would be proper in
any judicial district with an IRS office . Doc. #
328 at 4 . The defendant's constitutional interest
in having a trial near the situs of his crime is
reflected in F.R.Cr.P. 18, which requires the
government to "prosecute an offense in a district
where the crime was committed ." See also U.S .
CONST . ART . III, § 2, cl . 3 ; U.S. v. Cores, 356
U.S . 405, 406 (1958) . Bradley's alleged crime
was committed , at least in part, in Savannah,
where his accountant prepared his reporting
form . Prosecuting him here therefore raises no
constitutional concerns. See also Clines, 958
F.2d at 583-84 .

   Accordingly, the Court ADOPTS the
Magistrate Judge's Report & Recommendation
(doc . # 317) as the opinion of this Court .
Therefore, the defendants' Objections (doe . ##
328, 329) are OVERRULED, and their motions
to dismiss (doc . ## 93, 101, 111, 113, 115, 256,
257) are DENIED .

  This of January, 2006 .




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UNITED STATES D TIICT COURT
SOUTHERN DISTRICT OF GEORGIA
